                       IN THE UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF DELAWARE

                                                       :
In re:                                                 :       Chapter 11
                                                       :
M & G USA CORPORATION, et al.,1                        :       Case No. 17-12307 (BLS)
                                                       :
                   Debtors.                            :       (Jointly Administered)
                                                       :

          APPLICATION OF THE DEBTORS FOR AN ORDER AUTHORIZING
           THEM TO RETAIN AND EMPLOY CRAIN CATON & JAMES, P.C.
         AS SPECIAL COUNSEL, NUNC PRO TUNC AS OF THE PETITION DATE

         The above-captioned debtors and debtors in possession (collectively, the "Debtors")

apply to the Court (this "Application"), pursuant to section 327(e) of title 11 of the United States

Code (the "Bankruptcy Code"), Rules 2014(a) and 2016 of the Federal Rules of Bankruptcy

Procedure (the "Bankruptcy Rules"), Rules 2014-1 and 2016-1 of the Local Rules for the United

States Bankruptcy Court for the District of Delaware (the "Local Rules") and consistent with the

Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed

under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, issued by the Executive Office

of the United States Trustee (the "U.S. Trustee Guidelines"), for the entry of an order, in

substantially the form attached as Exhibit A (the "Proposed Order"), (i) authorizing them to

retain and employ Crain Caton & James, P.C. ("Crain Caton") as special counsel to the Debtors,

nunc pro tunc as of the Petition Date (as defined below); and (ii) granting certain related relief.

In support of this Application, the Debtors: (i) submit (a) the Declaration of Dennis Stogsdill


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                  The Debtors are the following twelve entities (the last four digits of their respective taxpayer
identification numbers follow in parentheses): M & G USA Corporation (3449), M & G Resins USA, LLC (3236),
M & G Polymers USA, LLC (7593), M & G Finance Corporation (4230), M&G Waters USA, LLC (2195),
Mossi & Ghisolfi International S.à r.l. (1270), M&G Chemicals S.A. (N/A), M&G Capital S.à r.l. (7812), M & G
USA Holding, LLC (3451), Chemtex International Inc. (7695), Chemtex Far East, Ltd. (2062) and Indo American
Investments, Inc. (9208). The Debtors' noticing address in these chapter 11 cases is 450 Gears Road, Suite 240,
Houston, Texas 77067.



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(the "Debtors' Declaration"), a copy of which is attached hereto as Exhibit B; (b) the Declaration

of Melinda M. Riseden, a shareholder in Crain Caton (the "Riseden Declaration"), a copy of

which is attached hereto as Exhibit C; and (c) Crain Caton's Disclosure of Compensation

(the "Disclosure of Compensation"), a copy of which is attached hereto as Exhibit D; and

(ii) further respectfully represent as follows:

                                    JURISDICTION AND VENUE

        1.         This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue for this matter is

proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                           BACKGROUND

        2.         On October 24, 2017, Debtor M&G Polymers USA, LLC ("M&G Polymers")

filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code and, thereafter, on

October 30, 2017 (the "Petition Date"), each of the other Debtors commenced chapter 11 cases

before this Court (together with the chapter 11 case of M&G Polymers, the "Cases"). The

Debtors are continuing in possession of their properties and are managing their businesses, as

debtors in possession, pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        3.         An Official Committee of Unsecured Creditors (the "Committee") was appointed

in these Cases on November 13, 2017 (Docket No. 146). Additional information regarding the

Debtors and these Cases, including the Debtors' businesses, corporate structure and financial

condition, is set forth in the Declaration of Dennis Stogsdill in Support of First Day Pleadings

(Docket No. 3) filed on October 31, 2017 and incorporated herein by reference.




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                                        RELIEF REQUESTED

        4.         The Debtors request entry of an order, in substantially the form of the Proposed

Order, (a) authorizing them to retain and employ Crain Caton as special counsel in these Cases,

nunc pro tunc as of the Petition Date and (b) granting certain related relief.

                                 BASIS FOR RELIEF REQUESTED

        5.         Section 327(e) of the Bankruptcy Code authorizes a debtor, with court approval,

to retain:

                   for a specified special purpose, other than to represent the trustee
                   in conducting the case, an attorney that has represented the debtor,
                   if in the best interest of the estate, and if such attorney does not
                   represent or hold any interest adverse to the debtor or to the estate
                   with respect to the matter on which such attorney is to be
                   employed.

11 U.S.C. § 327(e). Clarifying the statute, section 1107(b) of the Bankruptcy Code provides that

"a person is not disqualified for employment under section 327 of this title by a debtor in

possession solely because of such person's employment by or representation of the debtor before

the commencement of the case." 11 U.S.C. § 1107(b).

        6.         Accordingly, retention of special counsel is permissible so long as: (a) the

appointment is in the best interest of the debtor's estate, (b) counsel does not hold an interest

adverse to the estate with respect to the subject matter of its retention and (c) the engagement

does not amount to conducting the bankruptcy case for the debtor in possession. See In re

DeVlieg, Inc., 174 B.R. 497, 502-05 (N.D. Ill. 1994); In re Carla Leather, Inc., 44 B.R. 457, 474

(Bankr. S.D.N.Y. 1984) ("[Section] 327(e) bars engagement of special counsel only in the

presence of an actual conflict of interest concerning the subject matter of the engagement."),

aff'd, 50 B.R. 764 (S.D.N.Y. 1985). The Debtors' retention of Crain Caton as special counsel

falls within the scope of section 327(e) of the Bankruptcy Code.


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        A.         Services to Be Provided by Crain Caton

        7.         The Debtors propose to retain Crain Caton as special counsel to advise the

Debtors with respect to issues arising from the filing of mechanics' liens against the Debtors'

PET plant in Corpus Christi, Texas (the "Corpus Christi Plant") and to provide related services

on the terms set forth in this Application. The Debtors anticipate that Crain Caton will render

services to the Debtors with respect to liens, contracts, demands, litigation, arbitrations and other

disputes relating to the Corpus Christi Plant. In particular, the Debtors anticipate that Crain

Caton will perform, among others, the following legal services:

                   (a)    Analyzing, investigating and assessing the validity of liens asserted
                          against the Corpus Christi Plant and related property of the Debtors;

                   (b)    Analyzing, reviewing and potentially arbitrating, litigating, and/or
                          resolving the claims, demands, lawsuits, and arbitrations asserted against
                          the Debtors concerning the Corpus Christi Plant;

                   (c)    Advising, negotiating and advocating on behalf of the Debtors with
                          respect to their interests in agreements, real estate matters, and
                          relationships with the Port of Corpus Christi, City of Corpus Christi, local
                          pipeline and power companies, and others as to the Corpus Christi Plant;
                          and

                   (d)    Advising the Debtors' primary bankruptcy counsel and other professionals
                          with respect to the foregoing matters as necessary to pursue the Debtors'
                          chapter 11 efforts, including with respect to a sale of the Corpus Christi
                          Plant.

        8.         Crain Caton's proposed retention is for the matters referenced above. Crain Caton

ordinarily will not be involved in the day-to-day administration of these Cases and will not be

primarily responsible for the Debtors' general restructuring efforts. By delineating Crain Caton's

role, the Debtors have ensured there will be no duplication of services.

        B.         Crain Caton's Qualifications

        9.         Crain Caton is well qualified to serve as the Debtors' special counsel in these

Cases. Crain Caton has represented the Debtors since approximately 2000 in corporate, real

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estate, construction and litigation matters. Crain Caton has been involved with representing the

Debtors' interests throughout the development of the Corpus Christi Plant and has established

relationships with many of the key constituencies involved in the project, including the Port of

Corpus Christi, City of Corpus Christi, the various lenders that have contributed funds to the

construction of the Corpus Christi Plant and the utility and pipeline companies providing

products to the Corpus Christi Plant. Similarly, Crain Caton has extensive knowledge regarding

the access easement agreements, dock and priority use agreements, lease agreements, wetlands

arrangements, permitting agreements, construction agreements and the various contractor and

subcontractor contracts, lawsuits and arbitrations related to the Corpus Christi Plant, among other

items.

         10.       In light of Crain Caton's existing relationship with the Debtors and the extensive

work it has performed for the Debtors to-date, the Debtors believe that Crain Caton's retention is

in the best interests of their estates and creditors. Prior to the Petition Date, the Debtors selected

Crain Caton because its attorneys have extensive experience and knowledge regarding real estate

and commercial litigation, among other things. Crain Caton enjoys a familiarity with the

Debtors that would be difficult to replicate with replacement counsel without the expenditure of

substantial funds and significant delays. Crain Caton is uniquely qualified to handle the

representation described herein in an efficient and timely manner. As such, Crain Caton should

be retained as the Debtors' special counsel.

         C.        Compensation and Fee Applications

         11.       Crain Caton intends to apply to the Court for allowance of compensation and

reimbursement of expenses in accordance with the applicable provisions of the Bankruptcy

Code, the Bankruptcy Rules, the Local Rules, the U.S. Trustee Guidelines and any additional



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procedures that may be established by the Court in these Cases. Crain Caton's fees for

professional services are based upon its hourly rates, which are periodically adjusted. As of the

Petition Date, Crain Caton's firm-wide hourly rate ranges were as follows:

                            Billing Category                        U.S. Range
                   Shareholders                            $425.00 - $595.00 per hour
                   Associates                              $265.00 - $395.00 per hour
                   Paralegals and Legal Assistants         $160.00 - $235.00 per hour

        12.         Crain Caton will maintain records in support of any actual and necessary costs

and expenses incurred in connection with the rendering of its services in these Cases. Subject to

application for, and allowance by, the Court, Crain Caton will receive reimbursement for

reasonable and documented out-of-pocket expenses incurred in connection with the services

rendered to the Debtors.

        13.         The Debtors believe that the compensation arrangements with Crain Caton are

reasonable and at market rates, and appropriate considering the knowledge, experience and

complexity of the matters Crain Caton will be handling for the Debtors.

        D.          Disinterestedness and Disclosure of Connections

        14.         To check and clear potential conflicts of interest in these Cases, Crain Caton

researched its client database for the past two years to determine whether it had any relationships

with the entities listed on Annex 1 to the Riseden Declaration (collectively, the "Interested

Parties") limited to potential conflicts in its engagement as special counsel. The Interested

Parties include individuals or institutions in the following categories, among others: (a) the

Debtors; (b) non-Debtor affiliates and aliases; (c) Debtor trade names and other names used;

(d) directors, officers and senior management; (e) recent former directors, officers and senior

management; (f) major business affiliations of the Debtors' directors; (g) current and former


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significant equityholders of the Debtors; (h) significant lenders/investors of the Debtors;

(i) depository banks; (j) major insurers and insurance brokers; (k) material equipment/software

lessors; (l) creditors' restructuring professionals; (m) certain ordinary course professionals;

(n) parties to litigation or potential litigation; (o) parties to material contracts with the Debtors;

(p) real estate lessors; (q) restructuring professionals of the Debtors; (r) significant suppliers and

vendors; (s) significant customers of the Debtors; (t) significant utility providers;

(u) sureties/parties related to customs; (v) significant taxing/governmental authorities; (w) third

party administrators; (x) bankruptcy judges for the District of Delaware; (y) attorneys for the

United States Trustee's office for the District of Delaware; (z) other significant creditors/vendors;

and (aa) unions the Debtors' employees belong to.

        15.        Crain Caton has researched its relationships with the Interested Parties and has

determined that Crain Caton has not performed any services for any Interested Party in

connection with these Cases, or had any relationship with any Interested Party, their attorneys or

accountants that is adverse to the Debtors or their estates with respect to the matters on which

Crain Caton is advising the Debtors, except as set forth in the Riseden Declaration and below:

        (a)        Prior to the Petition Date, Crain Caton performed certain legal services for the
                   Debtors, as described herein and in the Application. Crain Caton has a receivable
                   in the amount of $1,021,510.18 owed by the Debtors for these prior legal services.

        (b)        In matters unrelated to the Debtors or these Cases, Crain Caton has previously
                   represented and/or currently represents Citibank, N.A., Allegiance Bank, BP
                   America, Inc., Graham Packaging Company L.P., Ashland, Inc., Beta Renewables
                   S.p.A., Wholesale Electric Company and The Dow Chemical Company. Crain
                   Caton, however, has not represented and does not and will not represent these
                   entities in matters relating to the Debtors or these Cases.

        (c)        In matters related to the Debtors and these Cases, Crain Caton has previously
                   represented Mossi & Ghisolfi Logistics Co. ("Logistics"), a related company to
                   the Debtors. This representation consisted of representing Logistics in similar
                   work that Crain Caton was performing for the Debtors prepetition. Logistics has
                   inquired as to whether Crain Caton would be willing to continue to represent
                   Logistics on an ongoing basis; however, Crain Caton has not agreed to any such

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                   arrangement to-date and would not agree to move forward with representing
                   Logistics without the consent of the Debtors.

        (d)        Arthur Branton Kotch, a shareholder of Crain Caton, has served, and continues to
                   serve, as secretary of certain of the Debtors and their non-Debtor affiliates,
                   including the following entities: M&G USA Corporation, M&G USA Holding,
                   LLC, M&G Polymers, M&G Finance Corporation, M&G Resins USA, LLC,
                   Carolina Biofuels Holding, Inc. and Carolina Celluslosic Biofuels, LLC. Mr.
                   Kotch has served, and continues to serve, as Assistant Secretary to Debtor M&G
                   Waters USA, LLC and non-Debtor Logistics.

        16.        To the extent that Crain Caton discovers additional information that requires

disclosure after the filing of this Application, Crain Caton will file supplemental disclosures with

the Court.

        17.        In reliance on the Riseden Declaration, the Debtors believe that (a) Crain Caton

has no connection with the Debtors, their creditors, the United States Trustee for the District of

Delaware (the "U.S. Trustee"), any person employed in the Office of the U.S. Trustee or any

other party with an actual or potential interest in these Cases or its respective attorneys or

accountants, except as set forth in the Riseden Declaration and (b) Crain Caton neither represents

nor holds any interest adverse to the Debtors or their estates with respect to any matter on which

Crain Caton is to be employed by the Debtors. However, as will be reflected in the filing of its

claim, Crain Caton has a receivable owed by Debtors for legal services performed prepetition.

The Debtors believe that Crain Caton's representation of the Debtors is permissible under section

327(e) of the Bankruptcy Code and is in the best interest of the Debtors' estates.

        18.        Finally, the Debtors note that Crain Caton will have no involvement with respect

to actually conducting the Debtors' Cases. The Debtors have filed applications requesting

authorization to retain (a) Jones Day as general bankruptcy counsel to the Debtors and

(b) Pachulski Stang Ziehl & Jones LLP ("PSZ&J") as Delaware counsel to the Debtors.




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Although Jones Day, PSZ&J and Crain Caton may coordinate on matters that generally concern

the Debtors and their sale process, Crain Caton will not conduct the Debtors' bankruptcy cases.

                                                NOTICE

        19.        Notice of this Application shall be given to (a) the Office of the United States

Trustee for the District of Delaware; (b) the Internal Revenue Service, the Securities and

Exchange Commission and any other federal, state or local governmental agency to the extent

required by the Bankruptcy Code, the Bankruptcy Rules, the Local Rules or order of the Court;

(c) Magnate S.á r.l. and its counsel, Kirkland & Ellis LLP; (d) DAK Americas LLC and its

counsel, Weil, Gotshal & Manges LLP; (e) Banco Inbursa S.A., Institución De Banca Multiple,

Grupo Financiero Inbursa and its counsel, Cleary Gottlieb Steen & Hamilton LLP; (f) the

Official Committee of Unsecured Creditors and its proposed counsel, Milbank, Tweed, Hadley

& McCloy LLP; and (g) any party that has requested notice pursuant to Bankruptcy Rule 2002 at

the time of noticing. The Debtors submit that no other or further notice need be provided.

                                        NO PRIOR REQUEST

        20.        No prior request for the relief sought herein has been made to this Court or any

other court.

                               [Remainder of page intentionally left blank]




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                   WHEREFORE, the Debtors respectfully request that the Court enter the Proposed

Order and grant such other and further relief as may be appropriate.

Dated: November 20, 2017
                                                  /s/ Dennis Stogsdill
                                                  Dennis Stogsdill
                                                  Chief Restructuring Officer




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